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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OKLAHOMA

                                                           Civil Action No:
    (1) JACOB GOLDMAN, Individually and on
        behalf of all others similarly situated,           CLASS ACTION

              Plaintiff,                                   COMPLAINT FOR VIOLATION OF THE
                                                           FEDERAL SECURITIES LAWS
              v.
                                                           JURY TRIAL DEMANDED
    (1) SPIRIT AEROSYSTEMS HOLDINGS,
         INC.,
    (2) THOMAS C. GENTILE III,
    (3) JOSE GARCIA, and
    (4) JOHN GILSON,

              Defendants.


         Plaintiff Jacob Goldman (“Plaintiff”), by Plaintiff’s undersigned attorneys, individually

  and on behalf of all other persons similarly situated, alleges the following based upon personal

  knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,

  based upon, inter alia, the investigation conducted by and through his attorneys, which included,

  among other things, a review of Defendants’ public documents, conference calls and

  announcements made by Defendants, United States Securities and Exchange Commission (“SEC”)

  filings, wire and press releases published by and regarding Spirit AeroSystems Holdings, Inc.

  (“Spirit” or the “Company”), and information readily obtainable on the Internet. Plaintiff believes

  that substantial evidentiary support will exist for the allegations set forth herein after a reasonable

  opportunity for discovery.

                                     NATURE OF THE ACTION

         1.        This is a class action on behalf of all persons or entities who purchased or otherwise

  acquired publicly traded Spirit securities from October 31, 2019 through January 29, 2020,




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  inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

  Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

  (the “Exchange Act”).

                                     JURISDICTION AND VENUE

          2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

  SEC (17 C.F.R. § 240.10b-5).

          3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

          4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

  27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the Company conducts business and has

  operations in this judicial district and alleged misstatements and the subsequent damages took

  place in this judicial district.

          5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to, the United States mail, interstate telephone communications and the

  facilities of the national securities exchange.

                                               PARTIES

          6.      Plaintiff, as set forth in the accompanying certification incorporated by reference

  herein, purchased Spirit securities during the Class Period and was economically damaged thereby.

          7.      Defendant Spirit purports to design, manufacture, and supply commercial aero

  structures in the United States and internationally. Spirit is a Delaware corporation located at 3330




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  N. Mingo Rd., Tulsa, Oklahoma 74116. Spirit securities trade on the New York Stock Exchange

  (“NYSE”) under the ticker symbol “SPR.”

         8.     Defendant Thomas C. Gentile III (“Gentile”) has been the Company’s Chief

  Executive Officer (“CEO”) throughout the Class Period.

         9.     Defendant Jose Garcia (“Garcia) served as the Company’s Chief Financial Officer

  (“CFO”) from January 9, 2019 until January 29, 2020.

         10.    Defendant John Gilson (“Gilson”) served as the Company’s Vice President of

  Finance and Controller from January 8, 2018 until January 29, 2020.

         11.    Defendants Gentile, Garcia, and Gilson are collectively referred to herein as the

  “Individual Defendants.”

         12.    Each of the Individual Defendants:

                a. directly participated in the management of the Company;

                b. was directly involved in the day-to-day operations of the Company at the

                    highest levels;

                c. was privy to confidential proprietary information concerning the Company and

                    its business and operations;

                d. was directly or indirectly involved in drafting, producing, reviewing and/or

                    disseminating the false and misleading statements and information alleged

                    herein;

                e. was directly or indirectly involved in the oversight or implementation of the

                    Company’s internal controls;

                f. was aware of or recklessly disregarded the fact that the false and misleading

                    statements were being issued concerning the Company; and/or




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                  g. approved or ratified these statements in violation of the federal securities laws.

          13.     Spirit is liable for the acts of the Individual Defendants and its employees under the

  doctrine of respondeat superior and common law principles of agency because all of the wrongful

  acts complained of herein were carried out within the scope of their employment.

          14.     The scienter of the Individual Defendants and other employees and agents of the

  Company is similarly imputed to Spirit under respondeat superior and agency principles.

          15.     Defendant Spirit and the Individual Defendants are collectively referred to herein

  as “Defendants.”

                                  SUBSTANTIVE ALLEGATIONS

           Materially False and Misleading Statements Issued During the Class Period

          16.     On October 31, 2019, Spirit filed a Form 10-Q with the SEC, which provided its

  financial results and position for the fiscal quarter ended September 26, 2019 (the “3Q 2019 10-

  Q”). The 3Q 2019 10-Q was signed by Defendants Gilson and Garcia. The 3Q 2019 10-Q

  contained signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by

  Defendants Gentile and Garcia attesting to the accuracy of financial reporting, the disclosure of

  any material changes to the Company’s internal control over financial reporting and the disclosure

  of all fraud.

          17.     The 3Q 2019 10-Q stated that the Company’s internal controls over financial

  reporting were effective:

                  Our President and Chief Executive Officer and Senior Vice President and
          Chief Financial Officer have evaluated the effectiveness of our disclosure controls
          and procedures as of September 26, 2019 and have concluded that these disclosure
          controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of the
          Securities Exchange Act of 1934) are effective to provide reasonable assurance that
          information required to be disclosed by us in the reports that we file or submit under
          the Securities Exchange Act of 1934, as amended, is recorded, processed,
          summarized and reported within the time period specified in the SEC rules and
          forms. These disclosure controls and procedures include, without limitation,

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          controls and procedures designed to provide reasonable assurance that information
          required to be disclosed by us in the reports we file or submit is accumulated and
          communicated to management of the Company, including our principal executive
          and principal financial officers, as appropriate to allow timely decisions regarding
          required disclosure.

          18.     The statements referenced in Paragraphs 16-17 were materially false and/or

  misleading because they misrepresented and failed to disclose the following adverse facts

  pertaining to the Company’s business, operations, and prospects, which were known to Defendants

  or recklessly disregarded by them. Specifically, Defendants made false and/or misleading

  statements and/or failed to disclose that: (1) the Company lacked effective internal controls over

  financial reporting; (2) the Company did not comply with its established accounting principles

  related to potential contingent liabilities; and (3) as a result, Defendants’ statements about Spirit’s

  business, operations and prospects were materially false and misleading and/or lacked a reasonable

  basis at all relevant times.

                                     The Truth Begins to Emerge

          19.     On January 30, 2020, before the market opened, the Company issued a press release

  announcing that Spirit had determined that it did not comply with its accounting procedures and

  that Defendants Garcia and Gilson had resigned. The press release stated, in relevant part:

          Spirit AeroSystems [NYSE: SPR] today announced the appointment of Mark
          Suchinski as Senior Vice President and Chief Financial Officer and Damon Ward
          as Interim Controller and Principal Accounting Officer, effective January 29, 2020.
          These appointments follow the resignations of Jose Garcia, Senior Vice President
          and Chief Financial Officer, and John Gilson, Vice President, Controller and
          Principal Accounting Officer.

          “We are pleased to have Mark stepping into the CFO role,” said Spirit AeroSystems
          President and CEO Tom Gentile. “Mark is a long-tenured and respected leader at
          Spirit, particularly within the finance team where he held a variety of key roles from
          2006 to 2018, including serving as Controller and Principal Accounting Officer
          from 2014 to 2018. He brings a comprehensive understanding of our business and
          has strong relationships with both internal and external stakeholders. Mark is




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         supported by Spirit’s talented finance organization and is committed to our future
         success.”

         In December 2019, Spirit received information through its established
         compliance processes that led Spirit to commence a review of its accounting
         process compliance. As a result of the review, which is ongoing, Spirit determined
         that it did not comply with its established accounting processes related to certain
         potential contingent liabilities that were received by Spirit after the end of third
         quarter 2019. As of today, Spirit believes this non-compliance will not result in a
         restatement of Spirit’s financial statements for the third quarter ended September
         26, 2019 or materially impact the financial statements for the fiscal year ended
         December 31, 2019. However, the review is ongoing and no final conclusion has
         been made. In light of these findings, Messrs. Garcia and Gilson tendered their
         resignations. Spirit has communicated about this matter with the Securities and
         Exchange Commission and anticipates fully cooperating with any inquiries the
         Commission may have.

         Spirit is taking steps to strengthen procedures relating to contingent liabilities of
         this type to ensure they are processed correctly in the future. Spirit expects to file
         its Form 10-K for the 2019 fiscal year by the Securities and Exchange
         Commission’s deadline.

          (Emphasis added.)

         20.     On this news, the Company’s shares fell $2.56 per share or approximately 4% on

  unusually high volume to close at $65.08 per share on January 30, 2020, damaging investors.

         21.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

  in the market value of the Company’s securities, Plaintiff and other Class members have suffered

  significant losses and damages.

                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

         22.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants who

  acquired Spirit securities publicly traded on the NYSE during the Class Period, and who were

  damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers and directors

  of Spirit, members of the Individual Defendants’ immediate families and their legal




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  representatives, heirs, successors or assigns and any entity in which Defendants have or had a

  controlling interest.

          23.     The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Spirit securities were actively traded on the NYSE.

  While the exact number of Class members is unknown to Plaintiff at this time and can be

  ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

  thousands of members in the proposed Class.

          24.     Plaintiff’s claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

          25.     Plaintiff will fairly and adequately protect the interests of the members of the Class

  and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

  no interests antagonistic to or in conflict with those of the Class.

          26.     Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

          a.      whether the Exchange Act was violated by Defendants’ acts as alleged herein;

          b.      whether statements made by Defendants to the investing public during the Class

                  Period misrepresented material facts about the business, operations and

                  management of Spirit;

          c.      whether the Defendants’ public statements to the investing public during the Class

                  Period omitted material facts necessary to make the statements made, in light of the

                  circumstances under which they were made, not misleading;




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         d.      whether Defendants caused Spirit to issue false and misleading SEC filings during

                 the Class Period;

         e.      whether Defendants acted knowingly or recklessly in issuing false and misleading

                 financial statements;

         f.      whether the prices of Spirit securities during the Class Period were artificially

                 inflated because of defendants’ conduct complained of herein; and

         g.      whether the members of the Class have sustained damages and, if so, what is the

                 proper measure of damages.

         27.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

  damages suffered by individual Class members may be relatively small, the expense and burden

  of individual litigation make it impossible for members of the Class to individually redress the

  wrongs done to them. There will be no difficulty in the management of this action as a class action.

         28.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

  on-the-market doctrine in that:

         a.      Spirit shares met the requirements for listing, and were listed and actively traded

                 NYSE, a highly efficient and automated market;

         b.      As a public issuer, Spirit filed periodic public reports with the SEC;

         c.      Spirit regularly communicated with public investors via established market

                 communication mechanisms, including through the regular dissemination of press

                 releases via major newswire services and through other wide-ranging public

                 disclosures, such as communications with the financial press and other similar

                 reporting services; and




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          d.      Spirit was followed by a number of securities analysts employed by major

                  brokerage firms who wrote reports that were widely distributed and publicly

                  available.

          29.     Based upon the foregoing, the market for Spirit securities promptly digested current

  information regarding Spirit from all publicly available sources and reflected such information in

  the prices of the shares, and Plaintiff and the members of the Class are entitled to a presumption

  of reliance upon the integrity of the market.

          30.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

  of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

  United States, 406 U.S. 128 (1972), as Defendants omitted material information in their Class

  Period statements in violation of a duty to disclose such information, as detailed above.

                                              COUNT I
                Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                       Against All Defendants

          31.     Plaintiff repeats and realleges each and every allegation contained above as if fully

  set forth herein.

          32.      This Count is asserted against Defendants based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          33.     During the Class Period, Defendants, individually and in concert, directly or

  indirectly, disseminated or approved the false statements specified above, which they knew or

  deliberately disregarded were misleading in that they contained misrepresentations and failed to

  disclose material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

  34. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:



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          a.      employed devices, schemes and artifices to defraud;

          b.      made untrue statements of material facts or omitted to state material facts necessary

                  in order to make the statements made, in light of the circumstances under which

                  they were made, not misleading; or

          c.      engaged in acts, practices and a course of business that operated as a fraud or deceit

                  upon Plaintiff and others similarly situated in connection with their purchases of

                  Spirit securities during the Class Period.

          35.     Defendants acted with scienter in that they knew that the public documents and

   statements issued or disseminated in the name of Spirit were materially false and misleading; knew

   that such statements or documents would be issued or disseminated to the investing public; and

   knowingly and substantially participated, or acquiesced in the issuance or dissemination of such

   statements or documents as primary violations of the securities laws. These defendants by virtue

   of their receipt of information reflecting the true facts of Spirit, their control over, and/or receipt

   and/or modification of Spirit’s allegedly materially misleading statements, and/or their

   associations with the Company which made them privy to confidential proprietary information

   concerning Spirit, participated in the fraudulent scheme alleged herein.

          36.      Individual Defendants, who are the senior officers and/or directors of the

   Company, had actual knowledge of the material omissions and/or the falsity of the material

   statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

   or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

   disclose the true facts in the statements made by them or other Spirit personnel to members of the

   investing public, including Plaintiff and the Class.




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           37.     As a result of the foregoing, the market price of Spirit securities was artificially

   inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiff

   and the other members of the Class relied on the statements described above and/or the integrity

   of the market price of Spirit securities during the Class Period in purchasing Spirit securities at

   prices that were artificially inflated as a result of Defendants’ false and misleading statements.

           38.     Had Plaintiff and the other members of the Class been aware that the market price

   of Spirit securities had been artificially and falsely inflated by Defendants’ misleading statements

   and by the material adverse information which Defendants did not disclose, they would not have

   purchased Spirit securities at the artificially inflated prices that they did, or at all.

   39. As a result of the wrongful conduct alleged herein, Plaintiff and other members of the Class

       have suffered damages in an amount to be established at trial.

           40.     By reason of the foregoing, Defendants have violated Section 10(b) of the 1934 Act

   and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members of

   the Class for substantial damages which they suffered in connection with their purchase of Spirit

   securities during the Class Period.

                                                COUNT II
                             Violations of Section 20(a) of the Exchange Act
                                   Against the Individual Defendants

           41.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

   paragraphs as if fully set forth herein.

           42.     During the Class Period, the Individual Defendants participated in the operation

   and management of Spirit, and conducted and participated, directly and indirectly, in the conduct

   of Spirit’s business affairs. Because of their senior positions, they knew the adverse non-public

   information about Spirit’s corporate governance and business prospects.




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          43.     As officers and/or directors of a publicly owned company, the Individual

   Defendants had a duty to disseminate accurate and truthful information with respect to Spirit’s

   business practices, and to correct promptly any public statements issued by Spirit which had

   become materially false or misleading.

          44.     Because of their positions of control and authority as senior officers, the Individual

   Defendants were able to, and did, control the contents of the various reports, press releases and

   public filings which Spirit disseminated in the marketplace during the Class Period concerning the

   Company’s corporate governance and business prospects. Throughout the Class Period, the

   Individual Defendants exercised their power and authority to cause Spirit to engage in the wrongful

   acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

   Spirit within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated

   in the unlawful conduct alleged which artificially inflated the market price of Spirit securities.

          45.     By reason of the above conduct, the Individual Defendants are liable pursuant to

   Section 20(a) of the Exchange Act for the violations committed by Spirit.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment and relief

   as follows:

          A.      Declaring this action to be a proper class action, designating plaintiff as Lead

   Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules of

   Civil Procedure and designating Plaintiff’s counsel as Lead Counsel;

          B.      Awarding damages in favor of plaintiff and the other Class members against all

   defendants, jointly and severally, together with interest thereon;




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          C.      Awarding Plaintiff and the Class reasonable costs and expenses incurred in this

   action, including counsel fees and expert fees; and

          D.      Awarding Plaintiff and other members of the Class such other and further relief as

   the Court may deem just and proper.

                                     DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury.

   Dated: February 10, 2020                     Respectfully submitted,

                                                /s/ William B. Federman
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